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Case 4:22-cv-00074-BMM Document 100-10 Filed 08/08/23 Page 1 of 2

TT ACH Mew | uy 132562 DEEDS Pages: 2

STATE OF MONTANA VALLEY COUNTY
RECORDED: 22/08/2006 11:29 KOI: WARRANTY

LYNNE NYQUIST CLERK AND RECORDER
FEE? $14.06 BY: & ho Choy altcdapif
TO: veaC BON 26, GLASGOW, KT 39230

RETURN TO: Milk River Hunting Preserve, LLC

P.0. Box 619
Bigfork, MT 59911

THIS INDENTURE is made and entered into this gt day of
December, 2006, by and between RUSSELL GILBERTSON of 251 Fox Farm
Road, Glasgow, MT 5923.0, GRANTOR, and MILK RIVER HUNTING
PRESERVE, LLC of P.O. Box. 619, Bigfork, MT 59911, GRANTEE.

WLTNESSETH, that Grantor, for valuable consideration, paid
by Graritee, the receipt whereof is hereby acknowledged, does by
these presents grant, bargain, sell, convey, warranty and confirm
unto Grantees, and to the successors, and/or assigns of Grantee
forever, the hereinafter described real estate situated in the
County of Valley, State of Montana:

TOWNSHIP 28 NORTH, RANGE 41 EAST, MPM

Section 28: Lots 2, 3, 8, 10, SWANWH, NWASWK
EXCEPTING from Lot 2 a tract of land more
particularly. described in Book 17 of Deeds on
pages 42~43, Doc. No. 53396 - to Great

Northern Railway Company

SUBJECT to reservations, right of ways and easements whether
of record ox not and whether visible or not, and prior
mineral arid royalty reservations and conveyances of record,
if any.

Included in this conveyance are water rights, if any,
appurtenant to the premises

fogether with all and singular the hereinbefore described
premises, all tenements, hereditaments, and appurtenances thereto
belonging or in anywise appertaining, and the reversion and
reversions,. remainder and remainders, rents, issues, and profits
thereof; and alse all the estate, right, title. interest,

~1-
JAMES K. FEWER, 2.0.
Attéraby AtLaw

EXHIBIT

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CT 000035

Case 4:22-cv-00074-BMM Document 100-10 Filed 08/08/23 Page 2 of 2

132582 Page 2 of 2

possession, claim and demand whatsoever, of Grantor, of, in or to
the said premises, and every part and parcel thereof, with the
appurtenances thereto belonging, to have and to hold, all and
singular the above mentioned and described premises unto Grantee,
and to the successors and/or assigns of Grantee forever.

And Grantor, and Grantor’s successors, heirs and/or assigns
do hereby covenant to forever warrant and defend all xight, title
and interest in and to the said premises and the quiet and
peaceable possession thereof, unto Grantee, and to the successors
and/or assigns of Grantee, against all acts and deeds of Grantor.

Co tbat

RUSSELL GILBERTSON

STATE OF MONTANA )
: ss
County of Valley }

This instrument was acknowledged before me this $ day of
December, 2006 by RUSS GILBERTSON.

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s K. Fewer.
Notary Public for State of Moritana
Residing at Glasgow, Montana
My commission expires June 22,2010

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